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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


ALISON FRIGON                                   :
           Plaintiff,                           :
                                                :
   v.                                           :           C.A. NO.: 16-590M-PAS
                                                :
UNITED STATES OF AMERICA,                       :
          Defendant.                            :


        DEFENDANT UNITED STATES OF AMERICA’S MOTION TO DISMISS

        Defendant United States of America, by and through its attorney, Peter F. Neronha,

United States Attorney for the District of Rhode Island, hereby moves to dismiss Plaintiff’s

complaint. In accordance with Local Rule 12 of the District of Rhode Island, Defendant is filing

simultaneously herewith a separate memorandum of law containing the authorities and reasoning

supporting its position.


                                             UNITED STATES OF AMERICA,

                                             Respectfully submitted,

                                             PETER F. NERONHA
                                             United States Attorney


                                             __/s/ Amy R. Romero______
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Dated: December 2, 2016
